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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE
                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
Z GALLERIE, LLC, et al.,1                                         )   Case No. 19-10488 (LSS)
                                                                  )
                                   Debtors.                       )   (Joint Administration Requested)
                                                                  )
                                                                  )   Re: Docket No. 13


          INTERIM ORDER (I) APPROVING PROCEDURES FOR
   STORE CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
EMPLOYEES OF CLOSING STORES, AND AND (III) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an interim order (this ”Interim Order”): (a)

authorizing and approving the conduct of store closing or similar themed sales in accordance

with the terms of the store closing procedures (the “Store Closing Procedures”) attached hereto

as Exhibit 1, with such sales to be free and clear of all liens, claims, and encumbrances;

(b) authorizing the Debtors to conduct the Store Closings at the Closing Stores, as set forth on

Exhibit 2 attached hereto; (c) authorizing customary bonuses to non-insider Closing Store

employees who remain employed for the duration of the store closing process

(the “Store Closing Bonuses”); (d) scheduling a final hearing to consider approval of the Motion

on a final basis; and (e) granting related relief, all as more fully set forth in the Motion; and upon

the First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and this Court having
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the
    Debtors’ service address is: 1855 West 139th Street, Gardena, CA 90249.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY FOUND THAT:

       1.      The Debtors have advanced sound business reasons for seeking to adopt the Store

Closing Procedures, on an interim basis subject to the Final Hearing, as set forth in the Motion

and at the Hearing, and adopting the Store Closing Procedures is a reasonable exercise of the

Debtors’ business judgment and in the best interests of the Debtors and their estates.

       2.      The conduct of the Sales in accordance with the Store Closing Procedures will

provide an efficient means for the Debtors to dispose of the Store Closure Assets.

       3.      The relief set forth herein is necessary to avoid immediate and irreparable harm to

the Debtors and their estates and the Debtors have demonstrated good, sufficient, and sound

business purposes and justifications for the relief approved herein.

       4.      The Store Closings and Sales are in the best interest of the Debtors’ estates.

       5.      The Debtors are authorized, but not directed to make payments under the Store

Closing Bonus Plan not to exceed $500,000.



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       6.      The entry of this Interim Order is in the best interest of the Debtors and their

estates, creditors, and interest holders and all other parties in interest herein; and now therefore it

is HEREBY ORDERED THAT:

       7.      The Motion is granted on an interim basis as provided herein.

       8.      The final hearing (the “Final Hearing”) on the Motion shall be held on

April 10, 2019, at 10:00 a.m., prevailing Eastern Time. Any objections or responses to entry of a

final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

April 3, 2019, and shall be served on: (a) the Debtors, 1855 West 139th Street, Gardena, CA

90249, Attn: Mark Weinsten; (b) proposed counsel to the Debtors, (i) Kirkland & Ellis LLP, 601

Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C. and Emily K.S.

Kehoe, (ii) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn: Justin R.

Bernbrock and Joshua A. Altman; (c) proposed co-counsel to the Debtors, (i) Klehr Harrison

Harvey Branzburg LLP, 919 N. Market Street, Suite 1000, Wilmington, Delaware 19801, Attn:

Domenic E. Pacitti and Michael W. Yurkewicz; (d) the Office of The United States Trustee, 844

King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Jaclyn Weissgerber,

Esq.; (e) counsel to any statutory committee appointed in these chapter 11 cases; (f) counsel to

the DIP Agent, Buchanan Ingersoll & Rooney PC, 919 North Market Street, Suite 1500,

Wilmington, Delaware 19801, Attn: Mary F. Caloway. In the event no objections to entry of the

Final Order on the Motion are timely received, this Court may enter such Final Order without

need for the Final Hearing.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.




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       10.     To the extent of any conflict between this Interim Order and the Store Closing

Procedures, the terms of this Interim Order shall control.

       11.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Interim Order are immediately effective and enforceable upon its entry.

I.     Authority to Engage in Sales and Conduct Store Closings.

       12.     The Debtors are authorized, on an interim basis pending the Final Hearing,

pursuant to sections 105(a) and 363(b)(1) of the Bankruptcy Code, to immediately conduct Sales

at the Closing Stores in accordance with this Interim Order and the Store Closing Procedures, as

may be modified by a Side Letter (as defined below) between the Debtors and the landlords at

the Closing Stores.

       13.     The Store Closing Procedures are approved in their entirety on an interim basis.

       14.     The Debtors are authorized to discontinue operations at the Closing Stores in

accordance with this Interim Order, the Store Closing Procedures, and any Side Letter, if

applicable.

       15.     All entities that are presently in possession of some or all of the merchandise or

FF&E in which the Debtors hold an interest that are hereby are directed to surrender possession

of such merchandise or FF&E to the Debtors.

       16.     Neither the Debtors nor any of their officers, employees, or agents shall be

required to obtain the approval of any third party, including, without limitation, any

Governmental Unit (as defined in Bankruptcy Code section 101(27)) or landlord, to conduct the

Sales and to take the related actions authorized herein.

II.    Conduct of the Sales.

       17.     All landlords are directed to accept this Interim Order as binding authority so as to

authorize the Debtors to conduct the Sales and the sale of merchandise, FF&E, and additional

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goods, including, without limitation, to conduct and advertise the sale of the merchandise, FF&E,

and additional goods in the manner contemplated by and in accordance with this Interim Order,

the Store Closing Procedures, and any Side Letter.

       18.     Except as modified herein or pursuant to any Side Letter, the Debtors are hereby

authorized to take such actions as may be necessary and appropriate to conduct the Store

Closings without necessity of further order of this Court as provided in this Interim Order, or the

Store Closing Procedures, including, but not limited to, advertising the sale as a “store closing

sale,” “sale on everything,” “everything must go,” or similar-themed sales through the posting of

signs (including the use of exterior banners at non-enclosed mall closing locations, and at

enclosed mall closing locations to the extent the applicable closing location entrance does not

require entry into the enclosed mall common area), use of signwalkers, and street signage;

provided, however, that only Debtor-approved terminology will be used at each Closing Store in

connection with the Sales.

       19.     Notwithstanding anything herein to the contrary, and in view of the importance of

the use of sign-walkers, banners, and other advertising to the sale of the merchandise, FF&E, and

additional goods, to the extent that, prior to the Final Hearing, disputes arise during the course of

such sale regarding laws regulating the use of sign-walkers, banners, or other advertising and the

Debtors are unable to resolve the matter consensually, any party may request an immediate

telephonic hearing with this Court pursuant to these provisions. Such hearing will, to the extent

practicable, be scheduled initially no later than the earlier of (a) the Final Hearing, or (b) within

two (2) business days of such request.        This scheduling shall not be deemed to preclude

additional hearings for the presentation of evidence or arguments as necessary.




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       20.     The sale of the merchandise, FF&E, and additional goods shall be conducted by

the Debtors notwithstanding any restrictive provision of any lease, sublease, restrictive covenant,

or other agreement relative to occupancy affecting or purporting to restrict the conduct of the

Store Closings or the Sales (including the sale of the merchandise, FF&E, and additional goods),

abandonment of assets, or “going dark” provisions, and such provisions shall not be enforceable

in conjunction with the Sales or the Store Closings. Breach of any such provisions in these

chapter 11 cases in conjunction with the Store Closings or the Sales shall not constitute a default

under a lease or provide a basis to terminate the lease; provided that the Store Closings and Sales

are conducted in accordance with the terms of this Interim Order and the Store Closing

Procedures. The Debtors and landlords of the Closing Stores are authorized to enter into

agreements (“Side Letters”) between themselves modifying the Store Closing Procedures

without further order of the Court and such Side Letters shall be binding as among the Debtors

and any such landlords. In the event of any conflict between the Store Closing Procedures, this

Order, and any Side Letter, the terms of such Side Letter shall control.

       21.     Except as expressly provided for herein or in the Store Closing Procedures, and

except with respect to any Governmental Unit (as to which paragraphs 29 and 30 shall apply) no

person or entity, including, but not limited to, any landlord, licensor, service provider, utility, or

creditor, shall take any action to directly or indirectly prevent, interfere with, or otherwise hinder

consummation of the Sales or the sale of merchandise, FF&E, or additional goods, or the

advertising and promotion (including the posting of signs and exterior banners or the use of

signwalkers) of such sales, and all such parties and persons of every nature and description,

including, but not limited to, any landlord, licensor, service provider, utility, and creditor and all

those acting for or on behalf of such parties, are prohibited and enjoined from (a) interfering in



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any way with, obstructing, or otherwise impeding the conduct of the Sales and/or Store Closings

and/or (b) instituting any action or proceeding in any court (other than this Court) or

administrative body seeking an order or judgment against, among others, the Debtors, or the

landlords at the Closing Stores that might in any way directly or indirectly obstruct or otherwise

interfere with or adversely affect the conduct of the Sales or other liquidation sales at the Closing

Stores and/or seek to recover damages for breach(es) of covenants or provisions in any lease,

sublease, license, or contract based upon any relief authorized herein.

       22.     During the Sale Term, the Debtors shall accept the Debtors’ validly-issued gift

certificates and gift cards that were issued by the Debtors prior to the Sale Commencement Date

in accordance with the Debtors’ gift certificate and gift card policies and procedures as they

existed on the Petition Date, and accept returns of merchandise sold by the Debtors prior to the

Sale Commencement Date; provided, that such return is otherwise in compliance with the

Debtors’ return policies in effect as of the date such item was purchased.

       23.     All sales of merchandise, FF&E and additional goods shall be “as is” and final.

Returns related to the purchase of Store Closure Assets shall not be accepted at stores that are not

participating in the Store Closings. However, as to the Closing Stores, all state and federal laws

relating to implied warranties for latent defects shall be complied with and are not superseded by

the sale of said goods or the use of the terms “as is” or “final sales.”

       24.     The Debtors are directed to remit all taxes arising from the Sales to the applicable

Governmental Units as and when due, provided that in the case of a bona fide dispute the

Debtors are only directed to pay such taxes upon the resolution of the dispute, if and to the extent

that the dispute is decided in favor of the applicable Governmental Unit. For the avoidance of

doubt, sales taxes collected and held in trust by the Debtors shall not be used to pay any creditor



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or any other party, other than the applicable Governmental Unit for which the sales taxes are

collected. This Interim Order does not enjoin, suspend, or restrain the assessment, levy, or

collection of any tax under state law, and does not constitute a declaratory judgment with respect

to any party’s liability for taxes under state law.

        25.     Pursuant to section 363(f) of the Bankruptcy Code, the Debtors is authorized to

sell Store Closure Assets—and all sales of Store Closure Assets, shall be—free and clear of any

and all of any liens, claims, encumbrances, and other interests; as provided for herein because in

each case, one or more of the standards set forth in section 363(f)(1)–(5) has been satisfied;

provided, however, that any such of any liens, claims, encumbrances, and other interests shall

attach to the proceeds of the sale of the Store Closure Assets with the same validity, in the

amount, with the same priority as, and to the same extent that any such liens, claims, and

encumbrances have with respect to the Store Closure Assets.

        26.     Subject to Court approval of rejection of an applicable lease, the Debtors are

authorized to abandon their FF&E at the conclusion of the Store Closings.

        27.     To the extent that the Debtors propose to sell or abandon FF&E that may contain

personal and/or confidential information about the Debtors’ employees and/or customers

(the “Confidential Information”), the Debtors shall remove the Confidential Information from

such items of FF&E before such sale or abandonment.

        28.     The Debtors are authorized and empowered to transfer merchandise, FF&E, and

additional goods among, and into, the Stores.

III.    Dispute Resolution Procedures with Governmental Units.

        29.     Nothing in this Interim Order, or the Store Closing Procedures, releases, nullifies,

or enjoins the enforcement of any liability to a governmental unit under environmental laws or

regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive
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relief) to which any entity would be subject as the owner, lessor, lessee, or operator of the

property after the date of entry of this Interim Order. Nothing contained in this Interim Order, or

the Store Closing Procedures shall in any way: (a) diminish the obligation of any entity to

comply with environmental laws; or (b) diminish the obligations of the Debtors to comply with

environmental laws consistent with its rights and obligations as debtor in possession under the

Bankruptcy Code. The Store Closings and the Sales shall not be exempt from laws of general

applicability, including, without limitation, public health and safety, criminal, tax, labor,

employment, environmental, antitrust, fair competition, traffic, and consumer protection laws,

including consumer laws regulating deceptive practices and false advertising (collectively,

“General Laws”). Nothing in this Interim Order, or the Store Closing Procedures, shall alter or

affect obligations to comply with all applicable federal safety laws and regulations. Nothing in

this Interim Order shall be deemed to bar any Governmental Unit (as such term is defined in

section 101(47) of the Bankruptcy Code) from enforcing General Laws, subject to the Debtors’

rights to assert in that forum or before this Court that any such laws are not in fact General Laws

or that such enforcement is impermissible under the bankruptcy Code or this Interim Order.

Notwithstanding any other provision in this Interim Order, no party waives any rights to argue

any position with respect to whether the conduct was in compliance with this Interim Order

and/or any applicable law, or that enforcement of such applicable law is preempted by the

Bankruptcy Code. Nothing in this Interim Order shall be deemed to have made any rulings on

any such issues.

       30.     To the extent that the sale of merchandise, FF&E, and additional goods is subject

to any Liquidation Sale Laws, including any federal, state or local statute, ordinance, or rule, or

licensing requirement directed at regulating “going out of business,” “store closing,” similar



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inventory liquidation sales, or bulk sale laws, laws restricting safe, professional and non-

deceptive, customary advertising such as signs, banners, posting of signage, and use of sign-

walkers solely in connection with the sale and including ordinances establishing license or

permit requirements, waiting periods, time limits, or bulk sale restrictions that would otherwise

apply solely to the sale of the merchandise, FF&E, and additional goods, the Dispute Resolution

Procedures in this section shall apply:

               a.      Provided that the Sales are conducted in accordance with the terms of the
                       Interim Order or the Final Order, as applicable, and the Store Closing
                       Procedures, and in light of the provisions in the laws of many
                       Governmental Units (as defined in the Bankruptcy Code) that exempt
                       court-ordered sales from their provisions, the Debtors and the Agent will
                       be presumed to be in compliance with any Liquidation Sale Laws and are
                       authorized to conduct the Sales in accordance with the terms of the Interim
                       Order or the Final Order, as applicable, and the Store Closing Procedures
                       without the necessity of further showing compliance with any such
                       Liquidation Sale Laws.

               b.      Within five business days after entry of the Interim Order, the Debtors will
                       serve by email, facsimile, or first-class mail, copies of the Interim Order,
                       the proposed Final Order, and the Store Closing Procedures on the
                       following: (i) the landlords for the Stores; (ii) the Attorney General’s
                       office for each state in which the Sales are being held; (iii) the county
                       consumer protection agency or similar agency for each county in which
                       the Sales are being held; (iv) the division of consumer protection for each
                       state in which the Sales are being held; (v) the chief legal counsel for each
                       local jurisdiction in which the Sales are being held
                       (collectively, the “Dispute Notice Parties”).

               c.      To the extent that there is a dispute arising from or relating to the Sales,
                       the Interim Order, or the proposed Final Order, and as applicable the Store
                       Closing Procedures, which dispute relates to any Liquidation Sale Laws
                       (a “Reserved Dispute”), the Bankruptcy Court shall retain exclusive
                       jurisdiction to resolve the Reserved Dispute. Any time within ten days
                       following entry of the Interim Order or service of an Additional Closing
                       Store List, as applicable, any Governmental Unit may assert that a
                       Reserved Dispute exists by sending a notice (the “Dispute Notice”)
                       explaining the nature of the dispute to: (i) Kirkland & Ellis LLP, 601
                       Lexington Avenue, New York, New York 10022, Attn: Kirkland &
                       Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn:
                       Joshua A. Sussberg, P.C., (joshua.sussberg@kirkland.com), Emily K. S.
                       Kehoe (emily.kehoe@kirkland.com) and 300 North LaSalle Street,

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                      Chicago,        Illinois     60654,        Attn: Justin     Bernbrock
                      (justin.bernbrock@kirkland.com)        and        Joshua       Altman
                      (josh.altman@kirkland.com); (ii) Klehr Harrison Harvey Branzburg LLP,
                      919 N. Market Street, Suite 1000, Wilmington, Delaware 19801, Attn.
                      Domenic E. Pacitti (dpacitti@klehr.com), and Michael W. Yurkewicz
                      (myurkewicz@klehr.com); and (iii) any affected landlord.

              d.      In the event that a Dispute Resolution Motion is filed, nothing in the
                      Interim Order or the Final Order, as applicable, shall preclude the Debtors,
                      a landlord, or any other interested party from asserting (i) that the
                      provisions of any Liquidation Sale Laws are preempted by the Bankruptcy
                      Code, or (ii) that neither the terms of the Interim Order or the Final Order
                      nor the conduct of the Debtors pursuant to the Interim Order or the Final
                      Order violates such Liquidation Sale Laws. Filing a Dispute Resolution
                      Motion as set forth herein shall not be deemed to affect the finality of the
                      Interim Order or the Final Order or to limit or interfere with the Debtors’
                      ability to conduct or to continue to conduct the Sales pursuant to the
                      Interim Order or the Final Order, absent further order of the Court. Upon
                      the entry of the Interim Order or the Final Order, as applicable, the Court
                      grants authority for the Debtors to conduct the Sales pursuant to the terms
                      of the Interim Order or the Final Order, and/or the Store Closing
                      Procedures and to take all actions reasonably related thereto or arising in
                      connection therewith. The Governmental Unit will be entitled to assert any
                      jurisdictional, procedural, or substantive arguments it wishes with respect
                      to the requirements of its Liquidation Sale Laws or the lack of any
                      preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                      Nothing in the Interim Order or the Final Order will constitute a ruling
                      with respect to any issues to be raised in any Dispute Resolution Motion.

              e.      If, at any time, a dispute arises between the Debtors and a Governmental
                      Unit as to whether a particular law is a Liquidation Sale Law, and subject
                      to any provisions contained in the Interim Order or the Final Order related
                      to the Liquidation Sale Laws, then any party to that dispute may utilize the
                      provisions of subparagraphs (d) and (e) above by serving a notice to the
                      other party and proceeding thereunder in accordance with those
                      paragraphs. Any determination with respect to whether a particular law is
                      a Liquidation Sale Law shall be made de novo.

       31.    Subject to paragraphs 29 and 30 above, each and every federal, state, or local

agency, departmental unit, or Governmental Unit with regulatory authority over the Sales, and all

newspapers and other advertising media in which the Sales are advertised shall consider this

Interim Order as binding authority that no further approval, license, or permit of any



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Governmental Unit shall be required, nor shall the Debtors be required, to post any bond, to

conduct the Sales.

       32.     Within three business days of this Interim Order, the Debtors shall serve copies of

this Interim Order, and the Store Closing Procedures via e-mail, facsimile, or regular mail, on:

(a) the Office of the U.S. Trustee for the District of Delaware; (b) the holders of the 50 largest

unsecured claims against the Debtors (on a consolidated basis); (c) the Agent for the Debtors’

prepetition secured credit facility; (d) counsel to the Agent for the Debtors’ prepetition secured

credit facility; (e) counsel to the DIP Financing Agent; (f) the United States Attorney’s Office for

the District of Delaware; (g) the Internal Revenue Service; (h) the United States Securities and

Exchange Commission; (i) the state attorneys general for all states in which the Debtors conduct

business; (j) all parties who are known by the Debtors to assert liens against the Store Closure

Assets; (k) all state attorneys general in which the Store Closure Assets are located;

(l) municipalities in which the Store Closure Assets are located; (m) all of the Debtors’ landlords

at the locations of the Stores; (n) all applicable state and consumer protection agencies; and

(o) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.

IV.    Other Provisions.

       33.     The Debtors shall not be required to comply with any state or local law requiring

that the Debtors pay an employee substantially contemporaneously with his or her termination;

provided, however, that the Debtors shall pay any accrued wages to terminated employees as

expeditiously as possible.

       34.     The Debtors shall pay the March rent attributed to the postpetition period

(March 11-31, 2019) to any Closing Store landlord by Friday, March 29, 2019.



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       35.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds;

(c) a promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; (g) to diminish the Debtors’ obligation

to comply with Bankruptcy Code section 365(d)(3), or (h) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Interim Order are valid and the Debtors and all other parties-in-interest expressly

reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such

liens. Any payment made pursuant to this Interim Order should not be construed as an admission

as to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any

other party-in-interest’s rights to subsequently dispute such claim.

       36.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       37.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

       38.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Interim Order are immediately effective and enforceable upon its entry.




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       39.     Cause exists to shorten the notice period set forth in Bankruptcy Rule 2002, to the

extent possible.

       40.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       41.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order, including,

but not limited to, (a) any claim or issue relating to any efforts by any party or person to prohibit,

restrict or in any way limit banner and sign-walker advertising, including with respect to any

allegations that such advertising is not being conducted in a safe, professional, and non-deceptive

manner, (b) any claim of the Debtors, the landlords for protection from interference with the

Store Closings or Sales, (c) any other disputes related to the Store Closings or Sales, and (d)

protect the Debtors against any assertions of any liens, claims, encumbrances, and other interests.

No such parties or person shall take any action against the Debtors, the landlords, the Store

Closings, or the Sales until this Court has resolved such dispute. This Court shall hear the

request of such parties or persons with respect to any such disputes on an expedited basis, as may

be appropriate under the circumstances.




      Dated: March 15th, 2019                         LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                       14   UNITED STATES BANKRUPTCY JUDGE
